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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-244

vs.
                                              MEMORANDUM AND ORDER
LUIS VALLEJO,

                  Defendant.


       This matter is before the Court on the defendant Luis Vallejo's
objections (filing 111) to the Findings and Recommendation (filing 109) of the
Magistrate Judge Thomas D. Thalken, recommending that Vallejo's motion to
suppress (filing 52 as amended by filing 72) be denied. The Court has
conducted a de novo review of Vallejo's motion to suppress, pursuant to 28
U.S.C. § 636(b)(1). The Court concurs in the Magistrate Judge's factual
findings, analysis, and conclusions of law, and finds Vallejo's objections to be
without merit. The Court will therefore adopt the Findings and
Recommendation.
       The Court writes briefly to address one matter raised in Vallejo's
objection that was not explicitly discussed in the Findings and
Recommendation. Vallejo's motion addressed, in part, a search warrant for
an apartment in which Vallejo was staying. The warrant authorized police
officers to search the apartment for methamphetamine, proceeds from its
sale, and other evidence of the sale of methamphetamine. Vallejo argues that
the officers lacked justification to search his suitcase, which was located in
the apartment, because the suitcase was not listed in the warrant.
       It is well-established, however, that the

      lawful search of fixed premises generally extends to the entire
      area in which the object of the search may be found and is not
      limited by the possibility that separate acts of entry or opening
      may be required to complete the search. Thus, a warrant that
      authorizes an officer to search a home for illegal weapons also
      provides authority to open closets, chests, drawers, and
      containers in which the weapon might be found.
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United States v. Ross, 456 U.S. 798, 821 (1982); see also United States
v. Romo-Corrales, 592 F.3d 915, 919–20 (8th Cir. 2010). The officers
were entirely justified in believing that Vallejo's suitcase could contain
any of the objects listed in the warrant. Accordingly, this objection, like
the remainder of Vallejo's objections, is without merit.

      THEREFORE, IT IS ORDERED:

      1.    The Court adopts the Magistrate Judge's Findings and
            Recommendation (filing 109).

      2.    Vallejo's objections (filing 111) are overruled.

      3.    Vallejo's motion to suppress (filing 52 as amended by filing
            72) is denied.

      Dated this 4th day of December, 2013.

                                            BY THE COURT:



                                            John M. Gerrard
                                            United States District Judge




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